        Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 1 of 15

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHRYN TOWNSEND GRIFFIN, THE ESTATE
OF CHERRIGALE TOWNSEND and THE HELEN
CHRISTINE TOWNSEND MCDONALD TRUST

                             Plaintiffs,
                                                         ECF CASE
                             -against-
                                                         17-cv-5221 (LLS)
EDWARD CHRISTOPHER SHEERAN, p/k/a ED
SHEERAN, ATLANTIC RECORDING                              PRETRIAL CONSENT ORDER
CORPORATION, d/b/a ATLANTIC RECORDS,                     [DAMAGES PHASE]
SONY/ATV MUSIC PUBLISHING, LLC, and
WARNER MUSIC GROUP CORPORATION, d/b/a
ASYLUM RECORDS

                             Defendants.


       THE PARTIES, having exchanged proposed findings and counter-findings of fact in

accordance with the Pretrial Procedures of United States District Judge Louis L. Stanton, hereby

submit the following:

A.     Agreed Findings of Fact

       1.     “Thinking Out Loud” enjoyed commercial success in the United States.

       2.     The Defendants, Edward Christopher Sheeran,1 Sony/ATV Music Publishing, LLC,

now known as Sony Music Publishing (US), LLC (“SMP”), and Atlantic Recording Corporation,

d/b/a Atlantic Records (“Atlantic Records”), have earned revenues from the performance, sales,

and/or distribution of the song “Thinking Out Loud” in the United States.




1
  While Ed Sheeran Limited (“ESL”), a United Kingdom corporation, is not a defendant in this
action, as reflected on Joint Exhibit 5, the revenues and expenses of Edward Christopher Sheeran
include both his personal revenue and expenses and those of ESL.
                                               1
          Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 2 of 15

                              REDACTED FOR PUBLIC FILING

         3.    Joint Exhibit 5 reflects that, through and including 2022, Sheeran’s and ESL’s

United States revenues from “Thinking Out Loud” total                   .

         4.    Joint Exhibit 5 further reflects that, through and including 2022, Sheeran and ESL

incurred costs, exclusive of taxes, in relation to their United States revenue from “Thinking Out

Loud,” totaling                  that Sheeran claims are deductible from their United States

revenues from “Thinking Out Loud.”

         5.    Joint Exhibit 5 further reflects that, through and including 2022, Sheeran and ESL

paid taxes totaling                in relation to their United States revenue from “Thinking Out

Loud” that Sheeran claims are deductible from their United States revenues from “Thinking Out

Loud.”

         6.    Joint Exhibit 5 therefore reflects that based on Sheeran’s and ESL’s United States

revenues from “Thinking Out Loud” and the expenses and taxes they incurred in relation to their

United States revenue from “Thinking Out Loud” that Sheeran and ESL claim are deductible from

their United States revenue from “Thinking Out Loud,” Sheeran and ESL had total net after tax

United States income from “Thinking Out Loud” through 2022 of                           . For the

avoidance of doubt, while Joint Exhibit 5 is admitted into evidence for all purposes without

objection by Plaintiffs or Defendants, pursuant to Joint Exhibit 8, the expenses reflected on Joint

Exhibit 5 may be challenged by Plaintiffs solely with respect to whether any or all of such expenses

and taxes are properly deductible against the revenues shown on Joint Exhibit 5, in whole or in

part, under the Copyright Act and applicable law.




                                                 2
        Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 3 of 15

                              REDACTED FOR PUBLIC FILING

       7.      Joint Exhibit 6 reflects that, through and including June 2022, Atlantic Record’s

United States revenues from “Thinking Out Loud” total                    .2

       8.      Joint Exhibit 6 further reflects that, through and including June 2022, Atlantic

Records incurred costs, exclusive of taxes, in relation to its United States revenue from “Thinking

Out Loud,” totaling                  that it claims are deductible from its United States revenues

from “Thinking Out Loud.”

       9.      Joint Exhibit 6 further reflects that, through and including June 2022, Atlantic

Records paid taxes totaling                in relation to its United States revenue from “Thinking

Out Loud” that it claims are deductible from its United States revenues from “Thinking Out Loud.”

       10.     Joint Exhibit 6 therefore reflects that based on Atlantic Records’ United States

revenues from “Thinking Out Loud” and the expenses and taxes it claims to have incurred in

relation to its United States revenue from “Thinking Out Loud” that Atlantic Records claims are

deductible from its United States revenue from “Thinking Out Loud,” Atlantic Records had total

net after tax United States income from “Thinking Out Loud” through June of 2022 of

              . For the avoidance of doubt, while Joint Exhibit 6 is admitted into evidence for all

purposes without objection by Plaintiffs or Defendants, pursuant to Joint Exhibit 8, the expenses

reflected on Joint Exhibit 6 may be challenged by Plaintiffs solely with respect to whether any or

all of such expenses and taxes are properly deductible against the revenues shown on Joint Exhibit

6, in whole or in part, under the Copyright Act and applicable law.

       11.     Joint Exhibit 7 reflects that, through and including the end of 2021, SMP’s United

States revenues from “Thinking Out Loud” total                  .



2
 As detailed below, Defendants contend Atlantic Records’ United States revenues from “Thinking
Out Loud” identified in Joint Exhibit 6 is slightly overstated due to an oversimplification in
computation made by Atlantic Records.
                                                3
          Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 4 of 15

                              REDACTED FOR PUBLIC FILING

         12.   Joint Exhibit 7 further reflects that, through and including the end of 2021, SMP

incurred deductible costs, exclusive of taxes, in relation to United States income from “Thinking

Out Loud,” totaling                 (consisting of client royalties payable to Sheeran and royalty

payments to Sheeran’s United Kingdom publisher) that SMP claims are deductible from its United

States revenues from “Thinking Out Loud.”

         13.   Joint Exhibit 7 further reflects that, through and including the end of 2021, SMP

paid taxes totaling             in relation to its United States income from “Thinking Out Loud”

that SMP claims are deductible from its United States revenues from “Thinking Out Loud.”

         14.   Joint Exhibit 7 therefore reflects that based on SMP’s United States revenues from

“Thinking Out Loud” and the expenses and taxes it incurred in relation to its United States revenue

from “Thinking Out Loud” that SMP claims are deductible from its United States revenue from

“Thinking Out Loud,” SMP had total net after tax United States income from “Thinking Out Loud”

through December of 2021 of                   For the avoidance of doubt, while Joint Exhibit 7 is

admitted into evidence for all purposes without objection by Plaintiffs or Defendants, pursuant to

Joint Exhibit 8, the expenses reflected on Joint Exhibit 7 may be challenged by Plaintiffs solely

with respect to whether any or all of such expenses and taxes are properly deductible against the

revenues shown on Joint Exhibit 7, in whole or in part, under the Copyright Act and applicable

law. .

         15.   Joint Exhibit 8 reflects the Parties Agreement that Joint Exhibits 5 through 7, which

reflect the United States gross revenues and expenses incurred and taxes paid by the Defendants

with respect to the United States exploitation of “Thinking Out Loud,” are admissible for all

purposes, but that Plaintiffs reserve the right to challenge the deductibility of any or all of the

expenses and/or taxes reflected on Joint Exhibits 5 through 7.



                                                 4
          Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 5 of 15

                                REDACTED FOR PUBLIC FILING

B.       Plaintiffs’ Proposed Findings of Fact

         1.     “Thinking Out Loud” borrows heavily from the elements of “Let’s Get It On” with

the majority of the “Thinking Out Loud” composition being attributable to the same.

         2.     The deductions asserted by the enumerated Defendants as off-sets and/or overhead

are not properly attributable to the creation, dissemination, and/or marketing of “Thinking Out

Loud” and, to the extent valid, are duplicative in character.

         3.     While Plaintiffs stipulate to the amount of taxes Defendants claim to have paid,

Plaintiffs do not stipulate that the aggregate tax amounts are directly attributable to “Thinking Out

Loud”.

         4.     In the event that Plaintiffs successfully prove infringement at the trial of this case,

consistent with the previous Order of this Court (Doc. 211) in the companion case of Structured

Asset Sales, LLC v. Ed Sheeran, et.al.; Case Number: 1:17-CV-5221-LLS, the Plaintiffs herein

would contend entitlement to concert ticket sale revenues by virtue of this Court’s previous finding

that that there is “a link between the infringing concert performance of TOL and profits arising

from concert ticket sales”. Consistent with the principles of res judicata, concert ticket revenues

have been found to be legally-cognizable damages herein. Accordingly, in the interests of

consistency and equal protection, these self-same concert revenue damages must be presented to

the jury for consideration at the trial of the instant case.

C.       Defendants’ Objections To Plaintiffs’ Proposed
         Findings Of Fact & Proposed Counter-Findings Of Fact

         Objections To Plaintiffs’ Proposed Findings Of Fact

         1.     Plaintiffs’ Proposed Finding of Fact No. 1. Defendants object to and dispute

Plaintiffs’ Proposed Finding of Fact No. 1. As detailed below in Proposed Counter-Finding No.

9, to the extent “Thinking Out Loud” is found to infringe “Let’s Get It On,” then the elements in

                                                    5
           Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 6 of 15

                               REDACTED FOR PUBLIC FILING

“Thinking Out Loud” attributable to such infringement comprise a very small fraction of the work

as a whole, 10% at most. Defendants further object to Plaintiffs’ Proposed Finding of Fact No. 1

because Plaintiffs have not cited any admissible evidence to support their Proposed Finding.

       2.       Plaintiffs’ Proposed Finding of Fact Nos. 2-3. Defendants dispute Plaintiffs’

Proposed Findings of Fact Nos. 2-3. Joint Exhibits 5, 6 and 7 are, pursuant to Joint Exhibit 8,

admissible for all purposes and, by the express terms of Joint Exhibit 8, the “expenses,” including

taxes, shown in those Exhibits have been stipulated to have been incurred “in relation to” the

United States exploitation of “Thinking Out Loud.” Joint Exhibit 8 further provides that Plaintiffs’

challenge to such expenses is limited to whether they are deductible, in whole or in part, under the

Copyright Act and applicable law. There is no dispute that the amount of revenues and expenses

(which includes “overhead” and income taxes) as reflected on Joint Exhibits 5, 6 and 7 is true and

correct.

       Defendants thus object to Plaintiffs’ Proposed Findings of Fact Nos. 2 and 3 because they

have been offered in violation of the October 8, 2020 Stipulation of the parties – Joint Exhibit 8.

As made clear in Joint Exhibits 5, 6 and 7, the “off-sets,” “overhead” and “taxes” that Plaintiffs

seek to challenge in their Proposed Findings of Fact Nos. 2 and 3 all represent “expenses in relation

to the United States exploitation of ‘Thinking Out Loud,’” and Plaintiffs therefore cannot

challenge whether such expenses are attributable to “Thinking Out Loud.” However, to the extent

Plaintiffs are permitted to disavow their stipulation in Joint Exhibit 8 and make the challenges

identified in Proposed Findings of Fact Nos. 2 and 3, Defendants will prove that the expenses

(including “overhead” and income taxes) were incurred in relation to the United States revenue of

“Thinking Out Loud.”




                                                 6
        Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 7 of 15

                               REDACTED FOR PUBLIC FILING

       3.      Plaintiffs’ Proposed Finding of Fact No. 4. Defendants object to Plaintiffs’

Proposed Finding of Fact No. 4 – which purports to claim entitlement to seek to recover “concert

ticket sale revenues” and which does not even articulate a purported statement of fact – because it

has been offered in direct violation of the Court’s July 24, 2020 Order (ECF 134), which Order

rejected Plaintiffs’ untimely application to reopen discovery to compel production of documents

concerning concert revenues. Further, Plaintiffs never asserted any claim in their Complaint for

concert revenues and have not provided any nexus in their pleading between their claim of

infringement and any concert revenues. Having failed to pursue any discovery regarding concert

revenues until long after discovery closed and having had their claim for concert revenues already

rejected by this Court’s July 24, 2020 Order (ECF 134), Plaintiffs have no basis for their eleventh

hour attempt to invent a new financial claim five weeks before trial.

       Defendants further object to Plaintiffs’ Proposed Finding of Fact No. 4 because permitting

Plaintiffs to seek concert revenues at trial five weeks before trial would cause extreme, incurable

prejudice to Defendants. In particular, given Plaintiffs’ failure to seek concert revenues during the

discovery period of this case, Defendants never engaged an expert witness to address any issues

(including apportionment) relating to concert ticket revenues. There is no possibility of an

appropriate evidentiary record being made in this case.

       Defendants further object to Plaintiffs’ Proposed Finding of Fact No. 4 to the extent

Plaintiffs cite the companion case of Structured Asset Sales, LLC v. Edward Christopher Sheeran,

et al., Case No. 18-cv-5839 (LLS) (the “SAS Case”) (Plaintiffs cited the incorrect case number for

the SAS Case). In the SAS Case, in motion practice directed to discovery made within the

discovery period, the Court found that SAS, in its complaint, sufficiently pleaded a nexus between

the alleged infringement and concert revenues and granted SAS’s motion to compel discovery of



                                                 7
         Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 8 of 15

                                REDACTED FOR PUBLIC FILING

concert revenues, which was produced as confidential information in that case in accordance with

the timelines of that case. The parties in the SAS Case thereafter exchanged expert disclosures

regarding concert revenues and further engaged in motion practice relating to whether profits from

such concerts were shown, in that case, to have a causal nexus to the alleged infringement. None

of those things have occurred in this case because no such claim was pleaded, no such claim was

ever tested in motion practice and no discovery or expert analysis has been conducted.

       Moreover, Plaintiffs’ citation to the doctrines of res judicata and “equal protection” are

frivolous, make no legal or logical sense and are, in short, incomprehensible.

       If nothing else, Plaintiffs’ Proposed Finding of Fact No. 4 confirms what Defendants have

understood from the outset: this case has nothing to do with whether there is any infringement in

this case – there is none. Instead, it is a pure money-grab by Plaintiffs. This Proposed Finding

has absolutely no basis in fact or in law, and it is barred by this Court’s Order. Plaintiffs have no

compunction about ignoring this Court’s Orders, treating them as if they were a nullity, which

respectfully, at this juncture, warrants the imposition of sua sponte Rule 11 sanctions against

Plaintiffs and their counsel.

       Defendants’ Proposed Damages Counter-Findings Of Fact

       1.      The Defendants’ collective United States net profits from “Thinking Out Loud” for

the time periods noted above totals                  (Joint Exhibits 5, 6, 7 and 8; trial testimony of

Barry M. Massarsky; trial testimony of Stephanie Hardwick; trial testimony of a corporate

representative of Atlantic Records; and, trial testimony of a corporate representative of SMP; and

Amended Report of Barry M. Massarsky).

       2.      Although the Profit & Loss Statement of Atlantic Records identifies net profits of

               attributable to “Thinking Out Loud,” this calculation assumes that there was only



                                                 8
         Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 9 of 15

                               REDACTED FOR PUBLIC FILING

one version of the album x and allocates the income from the album x as if there were only 12

tracks on all albums when in fact there were multiple different versions of the album containing

“Thinking Out Loud” released which contained a greater number of tracks and, in addition, a

significant portion of album sales occurred before the release of “Thinking Out Loud” as a single

and such sales were driven by other, earlier singles. (Joint Exhibits 6 and 8; trial testimony of

Barry Massarsky; and, trial testimony of a corporate representative of Atlantic Records; Amended

Report of Barry Massarsky).

       3.      Upon taking into account the factors identified immediately above, the net profits

of Atlantic Records attributable to “Thinking Out Loud” actually equals                   , 22.22% of

which is                    (Trial testimony of Barry Massarsky; Amended Report of Barry

Massarsky).3

       4.      The net profits of SMP through December 2019 attributable to “Thinking Out Loud”

were              , 22.22% of which is                (Joint Exhibits 7 and 8, trial testimony of Barry

Massarsky, Amended Report of Barry Massarsky).

       5.      The net profits of Ed Sheeran through December 2020 attributable to “Thinking

Out Loud” were                   , 22.22% of which is                   (Joint Exhibits 5 and 8; trial

testimony of Barry Massarsky; Amended Report of Barry Massarsky).

       6.      Accordingly, before apportioning between the Defendants’ profits attributable to

the alleged infringement and their profits attributable to other factors, the most the Plaintiffs could




3
 At the time of his death, Townsend held a beneficial interest in two-thirds of the fifty percent
writer’s share in “Let’s Get It On.” The Plaintiffs succeeded to two-thirds of Townsend’s interest
and thus hold a beneficial interest in two-thirds of two-thirds of fifty percent, which equals two-
ninths (and two-ninths equals 0.2222222222222). For shorthand, the parties express this interest
as a 22.22% beneficial interest and are calculating out to that four decimal place for simplicity.
                                                  9
         Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 10 of 15

                               REDACTED FOR PUBLIC FILING

recover from the Defendants is 22.22% of                       , which equals                . (Joint

Exhibits 5, 6, 7 and 8, trial testimony of Barry Massarsky).

         7.    Without limitation, the following elements in “Thinking Out Loud” are examples

of elements not at issue in this case and which Plaintiffs do not allege are infringing: (1) the drum

rhythms; (2) the bass line; (3) certain of the chord progressions; (4) the tempo; (5) the guitar solo;

(6) the lyrics and (7) the vast majority of the melodies in “Thinking Out Loud.” (Trial testimony

of Dr. Lawrence Ferrara).

         8.    The marketing efforts of Atlantic Records, the release of prior singles driving sales

of the album entitled x and the musical performance and popularity of Ed Sheeran, including the

music video for TOL, helped to drive sales and revenues for “Thinking Out Loud.” (Trial

testimony of Stuart Camp; trial testimony of Ed Sheeran; trial testimony of Barry Massarsky; trial

testimony of a corporate representative of SMP; and, trial testimony of a corporate representative

of Atlantic Records).

         9.    The Defendants’ collective United States net profits attributable to the alleged

infringing elements as opposed to non-infringing elements totals – at most – 10% of the overall

net profits; put differently, only 10% of the net profits of the Defendants from the United States

exploitation of “Thinking Out Loud” – at most – is attributable to the alleged infringement of

“Let’s Get It On.” (Trial testimony of Dr. Lawrence Ferrara; trial testimony of Barry Massarsky;

trial testimony of Stuart Camp; trial testimony of a corporate representative of SMP; and, trial

testimony of a corporate representative of Atlantic Records).

         10.   Upon apportioning between the Defendants’ profits attributable to the alleged

infringement and their profits attributable to other factors, the most the Plaintiffs can recover is

10% of                  , which equals             . (Trial testimony of Dr. Lawrence Ferrara; trial



                                                 10
        Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 11 of 15

                              REDACTED FOR PUBLIC FILING

testimony of Barry Massarsky; trial testimony of Stuart Camp; trial testimony of a corporate

representative of SMP; and, trial testimony of a corporate representative of Atlantic Records).

       11.     In or around April 2015, in response to the claim of Plaintiffs, SMP’s predecessor-

in-interest sought and obtained a preliminary musicological analysis from Dr. Lawrence Ferrara

and Anthony Ricigliano; their analysis, which SMP shared with Mr. Sheeran’s representatives and

with counsel for Plaintiffs, opined, among other things, that TOL did not copy from LGO,. (Trial

testimony of Dr. Lawrence Ferrara; trial testimony of a corporate representative of SMP; trial

testimony of Stuart Camp).

       12.     On or about October 6, 2015, Dr. Lawrence Ferrara provided a further

musicological analysis to Defendants, a copy of which was also provided to counsel for Plaintiffs,

which opined, among other things, that the similarities between LGO and TOL did not suggest

copying, and that any similarities were insignificant. (Trial testimony of Dr. Lawrence Ferrara;

trial testimony of Stuart Camp).

       13.     Defendants relied in good faith on the aforementioned analysis of Dr. Ferrara and

Mr. Ricigliano in continuing to exploit TOL commercially. (Trial testimony of Stuart Camp; trial

testimony of a corporate representative of SMP; trial testimony of a corporate representative of

Atlantic Records).

D.     Expert Witnesses

       The Plaintiffs intend to call upon the following expert witness to testify: Dr. Alexander
       Stewart

       The Defendants intend to call upon the following expert witnesses to testify: Dr. Lawrence
Ferrara; Barry Massarsky.




                                                11
          Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 12 of 15

                              REDACTED FOR PUBLIC FILING

E.       Pre-marked Joint Trial Exhibits

         THE PARTIES hereby stipulate and agree that the following Exhibits may be received,

with the Court’s approval, in evidence at trial as Pre-marked Joint Trial Exhibits:

     Exhibit No.            Description

           5                United States Net Profits Summary for Ed Sheeran (DEF 3609)
           6                United States Net Profits Summary for Atlantic Records (DEF
                            3608)
           7                United States Net Profits Summary for Sony/ATV (DEF 3610)
           8                Stipulation Regarding DEF 3608, DEF 3609 and DEF 3610
           9                Official Music Video for “Thinking Out Loud”
           10               Spotify Streaming Data (DEF 3613)
           11               Sheeran – SATV UK Agreement (DEF 924)

           12               Sheeran – Warner UK Agreement (as amended) (DEF 961 and
                            DEF 967)
           13               Producer Agreement with Jake Gosling (DEF 1248)
           14               Mixer Agreement with Spike Stent (DEF 1285)
           15               Sheeran Agreement with Rocket Management (DEF 1775)
           16               Excel Showing that “Thinking Out Loud” is a “Rocket Song”
                            (DEF 1781)
           17               Excel Summary of Costs related to “Thinking Out Loud” Music
                            Video (DEF 1786)
           18               Sample of Invoices relating to Atlantic’s Marketing Costs (DEF
                            1788-1861)
           19               SATV US – SATV UK Sub-Publishing Agreement (DEF 1914)
           20               Sony Inter-Company Agreement (as amended) (DEF 1925, DEF
                            1926)
           21               Warner / Elektra / Atlantic “License Agreement” (DEF 1980)
           22               “Assignment of Copyright and License Agreement” between
                            Warner Music Group and WEA International Inc. (DEF 2029)
           23               Letter Agreement dated October 1, 2008 between WEA
                            International Inc. and Warner Music UK Ltd. (DEF 2035)



                                                12
          Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 13 of 15

                               REDACTED FOR PUBLIC FILING

     Exhibit No.             Description

           24                Excel Summary of Mechanical Royalties Paid by Atlantic to
                             SATV (DEF 3612)

F.       Pre-marked Disputed Exhibits

         Plaintiffs’ Disputed Exhibits

         The Plaintiffs will offer the following exhibits to be received in evidence, to which

Defendants object:

     Exhibit No.      Description                              Objection(s)

           122        Sony/ATV Corporate Representative        Rule 401; Rule 403; Rule 802
                      Deposition w/ Exhibits                   Defendants cannot stipulate to
                                                               the wholesale admission of
                                                               Sony/ATV’s deposition
                                                               testimony; to the extent
                                                               Plaintiffs designate specific
                                                               pages they seek to admit into
                                                               evidence, Defendants can
                                                               respond accordingly.
                                                               In addition, Defendants object
                                                               to Deposition Exhibit 1 under
                                                               Rule 401.
           123        Atlantic Recording Company Deposition    Rule 401; Rule 403; Rule 802
                      w/ Exhibits                              Defendants cannot stipulate to
                                                               the wholesale admission of
                                                               Atlantic’s deposition
                                                               testimony; to the extent
                                                               Plaintiffs designate specific
                                                               pages they seek to admit into
                                                               evidence, Defendants can
                                                               respond accordingly.
                                                               In addition, Defendants object
                                                               to Deposition Exhibit 1 under
                                                               Rule 401.




                                               13
        Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 14 of 15

                               REDACTED FOR PUBLIC FILING

        Defendants’ Disputed Exhibits

        The Defendants will offer the following exhibits to be received in evidence, to which

Plaintiffs object:

  Exhibit No.        Description                                   Objection(s)

         300         Amended and Updated Report of Barry           Rule 401; Rule 403; Rule 802.
                     M. Massarsky                                  Defendants’ Massarsky report
                                                                   is inadmissible hearsay.
         301         Billboard Charts for Various Ed Sheeran       Rule 401; Rule 402
                     Songs and Albums that charted prior to        Plaintiffs cannot agree to
                     the release of Thinking Out Loud as a         admission of unspecified
                     single                                        “charts” of unknown
                                                                   provenance.
         302         April 15, 2015 Email from Bruce Rules 408—Settlement
                     Scavuzzo to Keisha Rice, attaching Discussions/Negotiations;
                     preliminary musicological analysis of Dr.
                     Lawrence Ferrara and Anthony Ricigliano Violation of Rule 26, expert
                                                               opinions of Anthony
                                                               Ricigliano not disclosed
         303         October 8, 2015 Email from Ilene S. Rules 408—Settlement
                     Farkas to Keisha Rice, attaching Discussions/Negotiations;
                     additional preliminary musicological Violation of Rule 26.
                     analysis of Dr. Lawrence Ferrara

         304         Excel from Atlantic Records re: sales of Rule 401; Rule 403; Federal
                     “x” and Thinking Out Loud (DEF 3615) Rules of Civil Procedure, Rule
                                                                   26

G.      Type of Trial and Estimated Length

        1. The Plaintiffs have made a demand for a trial-by-jury.

        2. The Plaintiffs estimate that it will take one (1) day(s) to present their damages case.

        3. The Defendants estimate that it will take 1-2 days to present their damages case.




                                                 14
       Case 1:17-cv-05221-LLS Document 196 Filed 03/15/23 Page 15 of 15

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Dated this 15th day of March, 2023.


                                           FRANK & RICE, PA.


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                                                 Attorneys for Defendants


SO ORDERED.

Dated this      day of March, 2023.




                                           The Honorable Louis L. Stanton
                                           United District Court Judge
